Case 4:09-cv-00273-RH-WCS Document 20-3 Filed 10/26/09 Page 1 of 50
Way-01=2006 02:25pm From-TMH FINANCE DEPT 950 431 6498 7-183 P.O1O/019 F864

IN WITNESS WHEREOF, TMH has caused this Agreement to be duly executed, and

Employee has hereunto set his hand and seal, as of the day and year first above written.

- "TALLAHASSEE MEMORIAL HEALTHCARE, INC.
A Corporation Not For Profit

Chuck ‘Mitchell, Chairman

Pat leone

DUNCAN MOORE

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Attachment No. 4

Duncan Moore’s Employment
Agreement dated 1/29/88

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EMPLOYMENT AGREEMENT

THIS AGREEMENT mode as of the 2? M soy of

1988, between the Board of Directors of Tallahassee Memorial

 

Regional Medicol Center, Inc., hereinafter referred to as
"Medienl Center" ond Duncan Moore, of Albany, Georgia,

>

hereinafter referred to as "Moore."
WHEREAS, the Medical Center desires to employ Moore as
ADM/CEO of Tallahassee Memorial Hospital d/b/a Tatlahassee

Memorial Regional Medical Center, end Moore hereby accepts the

employment.

NOW, THEREFORE, in consideration of the mutual promises, the
parties agree as follows:

1. Purposes. Moore shall render full time professional

services to the Medical Center in the capacity as stated above
for Tallahassee Memorial Hospital (TMH) acute care hospital. He
will at ell times, faithfully, industrially, and to the best of
his ability, perform nll duties that may be required of him by
virtue of his position ond all duties set forth in the Medical
Center's ByLaws to the reasonable sotisfaetion of the Board of
Directors. His duties shall specifically include the supervision
of the acute care hospital {TMH); the supervision of personnel;
finaneial matters; attendance at meetings of the Board of
Directors and its Executive Conmittee; reports to both bedies
eoncerning all phases of the operation of the ocute core hospital
{TMH}, ineluding, as well as ail services rendered in connection
with the operation of the acute care hospital (TMH), employment
of personnel, and acquisition of machinery and equipment. In
addition, Moore shall perform in the same manner &nhy special
duties assigned or delegated to him by the Executive Committee or

the Board of Directors.

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for these services as

2. Compensation. In consideration
stated above, the Medical Center shall pay to Moore an amount

mutually agreed upon at an annual review of his compensation by
the Executive Committee of the Board: Said amount not in any
event to be less than the previous year’s salary. Moore may, at
his option, request and require that such portion af his salary
os he may designate be set aside as tax deferred income subject
to the requirements of the Internal Revenue Service (IRS) as are
permitted for a 501(¢)(3) organization.
a. Benefits. The Medical Center shall purchase or make
available the following benefits to Moore:
A, Life Insurance. The Medical Center shall purchase a

$1,000,000 term life insurance policy on the life af Moore at

standard rates.

B. Health Insurance. Moore shall be entitled to sueh
health insurance as provided to other employees of the Medical

Center.

Cc. General Liability Insurance. The Medical Center
shall insure Moore under its general liability insuranee policy

for all aets done in good faith during the term of this

Agreement.

D. Retirement Benefits. Moore shall be entitled to the

same retiremént benefits offered to other employees of. the

Medical Center. .
E. Automobile. The Medical Center shall purchase or
lease for Moore every three (3} years a new automobile. In the

event that the Internal Revenue Service (IRS) changes its rules
concerning automobiles, then an adjustment shall be made in

Moore's compensation for such changes to offset additional

expense to Moore.

F. Disability Insurance Policy. The Medical Center

shall purchase a standard disability policy which shall cover

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sixty pereent (60%) of the base pay of Moore in the event that
Moore beeomes disabled.

G. “Medica Examination. The Medical Center shall
provide one (1) free annual medical examination per year for

Moore,
H. Dues. The. Medieol Center shall pay dues to
gs
professional associations and societies and to such service

organizations and clubs of which Moore may become o member as

approved by the Chairman of the Board or the Executive Comnittee

of the Board of Directors as being In the best interest of the

Medical Center.

4. VYaeation And Leaye Time. Moore shall be entitled to
earn time off (ETO) in aecordanee with the Medical Center's
personnel polieies for eneh year of employment. In addition,
Moore will be permitted to be absent from the aeute care hospital
(TMH) during working days to attend professional meetings in the
United States and to attend such outside professional duties in
the hospital field which hove been mutually agreed upon between
Moore and the Chairman of the Board of Direetors or the Executive
Committee of the Board of Directors. Attendance at such approved
Meetings and aceomplishment of approved professional duties shall
be fully compensated service time ond shall not be considered

ETO. The Medical Center shall reimburse Moore for all expenses

incurred by him ineident to attendance at approved professional

*

meetings.

5. Termination. “Should the Medical Center terminate Moore
without cause, then the Medical Center shall pay to Moore a
year's salary and if termination oeeurs subsequent to the first
year's employment, Moore shall be entitled to a year's salary
plus an additional month's salary for eaeh yeaor of employment

that Moore has aceumulated.

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A. Terminotion For Cause. If Moore is terminated for
couse by the Medical Center, then there shall be ne payment to
Moore. Cause is hereby defined as being charged with a serious
crime, the wilful] negiect of his. duties of employment at the
acute care hosp!tol {TMI}, habitual absence, and/or gross and
flagrant inattentjon to duties. The Board shal! notify Moore in
writing of termination for cause by registered mail and

termination: shall be effective as of the date of receipt by

Moore.

B. Terminotion By Moore. If Moore decides to terminate

this Employment Agreement, then he shall give six (6} months’

written notice to the Board of Directors by registered mall.

C. Competition. Upon termination of this Agreement for
any reason for o period of one {1) year following the effective
date of this termination, Moore shall not be employed by or work
in any capacity for any health care facillty in the Tallahassee
area without first obtaining the written authorization of the
Chairman of the Board of Directors of the Medical Center. The
Tallahassee area is hereby defined as Leon, Jefferson, Taylor and
Gadsden Counties, Fiorida, and Thomas County, Georgia. In the
event of a breach of this restrictive covenant, the Medical
Center shall be entitled to [njunctive relief, it being agreed by
the parties that there would be no adequate remedy at law
available to the Medical Center.

D, Involuntary Termination Due To Death Or Disability.
In the event of the death of Moore, this Agreement shall
terminate and in the event of a long term disability, herein
defined as six (6) months, then this Agreement shall be
terminated. This Agreement shall] be terminated by the Medical
Center if it leses its state license or there is a destruction or
closing of the Medical Center.

6. Review Of Performance Annually. The Board of Directors

shal] annually do a performance review which shall include a

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eomprehensive assessment of achievements on the fob, measured by
the standards criteria and guidelines developed by the Board of
Directors. This review process shall include the setting of new
goals, standards, and objectives for the future.

7. Term Of Agreement. This Agreement shall be for an
indefinite term unless terminated os provided herein.

8. Amendments Teo Agreement. The terms and conditions of
this Agreement may be amended at any time by written agreement of
the parties signed by the Chairman of the Board and Moore.

$. Entire Agreement. This Agreement eonstitutes the entire
agreement between the parties. It supersedes any and all other
agreements or contracts, either oral or written, between the

parties-with respeet to the subject matter hereof.

10. Invalidity. The invalidity or unenforceabllity of any
particular. provision of this Agreement shall not affect other
provisions and this Agreement shall be construed in all respects
as If such invalid or unenforeeable provision had been omitted.

ll. Assignment. Neither party shall assign this Agreement
without the written consent of the other party.

12, Attorneys' Fees And Costs. In the event that either
party to the Agreement breaches the Agreement, then the
prevailing party shall be entitled to attorneys’ fees and court
costs.

13. -Laws Of The State Of Florida. This Agreement shall be

construed and enforced under and in accordance with the laws of

the State of Florida.

TALLAHASSEE MEMORIAL REGIONAL
MEDICAL CENTER, INC.

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Oh OKne.,
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PAGE FIVE OF SIX PAGES

 

 

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DUNCAN MOORE

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Attachment No. 5

Comprehensive Schedule of Duncan Moore’s
compensation and various possible computations of the SERP benefit

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Case 4

 

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Moore, Duncan

1. Base Compensation

Effective date
10/17/2000 438,000.00
10/9/2000 432,264.00
10/11/1999 420,264.00
7/1/1998 400,248.00
8/1/1997 367,200.00

2. Deferred compensation match.

CYE
12/31/2003 125,000.00
12/31/2002 125,000.00
12/31/2001 125,000.00
12/31/2000 100,000.00
12/31/1999 100,000.00
12/31/1998 100,000.00

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Attachment No. 6

Letter dated 9/11/03 from Mr. Flood
to Mark O’Bryant, wherein Mr.
Flood transmits copies of relevant
documents from his file

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- Mr. Mark O’Bryant .
President and Chief Executive Officer
Tallahassee Memorial Healthcare
1300 Miccosukee Road

Tallahassee, Florida 32308-5093

Dear Mark:

Yesterday, Gail Seals requested that | send any information that | had on
Executive Salary and Retirement Plans, particularly as it related to Duncan
Moore, from the project that 1 completed for Tallahassee Memorial Healthcare in
1998. She indicated that she had seen some information that referenced letters
that | had written to Dr. John Lewis, dated May 18 and September 4, 1998_ Dr.
Lewis was Chairman of the Board at that time. I not only found these letters, but
a number of other letters and information that | thought might be pertinent.

Rather than clean copies, | am sending you copies with my personal notes on
them. You may find some of the notes interesting. The letters include
correspondence addressed to Duncan, as | always wanted Duncan to be fully
informed of anything that | was getting ready to send to the Board. As a matter
of practice, | never talk about a subject or send information to Board members
without first reviewing the information with CEO’s and obtaining their comments.

Rather than sending you all of the letters and having you try to discern the
purpose of.each one, below | will try to outline the basic objective of each batch
of letters that are enclosed

Letter A — March 19, 1998

This initial letter summarizes the TMRMC Employee Retirement Program and
then outlines a number of hospitals’ response to TEFRA regulations. The
letter also describes hospital Supplemental Executive Retirement Plans
(SERP’s) for the Board members and proposes a course of action.

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Mr. Mark O’Bryant Oo
September 11, 2003
. Page Two

Letter B— May 18, 1998

This letter is a finalized version of the March 18, 1998, letter that | used in an
actual meeting with Dr. Lewis and several other Board members who were on
the Compensation Committee. The personal notes on this letter reflect the
points that | emphasized during the meeting; note on the bottom of page 5,
the three recommendations that were approved at the end of the meeting.
Also, note on the top of Page 6 that the Committee agreed that ! should look
at Duncan’s existing contract. .

Letter C and Attachments — July 31, 1998

This letter and attachments describe my, comments on Duncan’s existing (at
the. time) employment agreement with TMRMC. | went through each
paragraph in the original contract and made various comments and
recommendations. At about the same time that | reviewed Duncan’s contract,
| did an evaluation of his then existing Supplemental Executive Retirement
Plan (SERP). This is shown on C-1. The last table outlines the SERP annual
investment requirements based upon the retirement targets approved in the
May 18" meeting (see Letter B, bottom of page 5). Note on Page C-2 that
the annual investment per year was projected to be $921,000, without Dr.
McDonald being included, and almost $1.9 million if he were included.

Letter D — June 12, 1998

This is a cover letter to Duncan for his review of a proposed letter to Dr Lewis .
that compared CEO Total Direct Compensation with national CEO
compensation at the mean, 75% percentile, and maximum. The handwritten
changes are Duncan’s,. This-letter was finalized and discussed with Dr.
Lewis. However, ! could not find the final copy; therefore, | have sent you this
preliminary copy.

Letter E and Attachments — September 4.1998

This letter outlines an analysis of the SERP funding requirements and
options. Note on page 3 of this letter that all of the recommendations outlined
were approved in the September 4" meeting. Also, note the last sentence on.
page 4 that | had several thoughts for the committee members to consider
regarding Duncan's contract. These are covered in Attachment A.

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Mr. Mark O'Bryant
September 11, 2003
Page Three

Letter F — September 23, 1998

This letter was a follow up to the September 4'" Board Compensation
Committee meeting. The attachments include Duncan's original employment
agreement and a proposed employment agreement based upon our
discussions with the Compensation Committee and my proposed
recommended changes to the agreement.

Letter G- October 14, 1998

This is a cover letter from Duncan to me sending a copy of Gail Seals’ cover
letter to the Officers of the Board regarding Duncan’s original contract and the
proposed changes for a. new one. A number of the proposed changes were
developed from the September 23 recommendations

. Letter H— October 19, 1998

This letter was developed based upon the information in Letter G and its
attachments, and from.a direct conversation with Dr. Lewis. This letter more
fully describes the severance period and ‘Termination for Cause’ definition. It
also mentions ‘Constructive Termination’. Note on the bottom of page 2, my
handwritten notes concerning the Committee’s conclusions and
recommendations that were approved.

Mark, from all of the above, a final contract was drafted by the Committee for
Duncan. Since there was not another scheduled meeting for me to attend, |
never received a final copy of Duncan’s signed contract. Therefore, | do not
have one to send to you in this packet. 1 hope the enclosed information is
helpful. If you have any further comments or questions, please let me know.

Warm personal regards,
TE

Paul M. Flood, C.M.C., C.H.C.
Chairman

enclosures

PMF/ms

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_ COPY

 

May 21, 2004

Mr. Duncan Moore
2179 Miller Landing Road
Tallahassee, Florida 32312

Dear Duncan: .

Enclosed are the letters and reports that we discussed in Sandestin on Wednesday,
May 5 The enclosures are from ‘A’ to 'H'. [ hope these are helpful. If you have any
additional questions or comments, do not hesitate to call me at 770-844-7574. Goo
Luck!

Warm personal regards,

Le Gene C.H.C.

Chairman
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Chattahoochee Health Resources

March 19, 1998

Mr. Duncan Moore

President & CEO

Tallahassee Memorial Regional Medical Center
1300 Miccosukee Road

Tallahassee, FL 32308-5093

Dear Duncan,

Enclosed a “preliminary” copy of a letter to you that when finalized should be copied to your Board
Chairman. Please review it carefully and make appropriate changes. There are some numbers that are
incorrect. For example, the second paragraph on page two discusses the average employee working 22
years and retires at an average of $45,000. Please have someone determine what the correct numbers are.
On page one, I may be slightly off on you being 62 years of age after 15 years with the hospital. The
CFO’s annual earnings may also be off slightly. (You indicated that he made between $230,000 and
$240,000 per year.)

_ We can probably review the letter on the telephone, or if you prefer, I can make another visit. Once we
have finalized the letter to your satisfaction, we should probably have a meeting with your Board Chairman
to review the contents in detail and develop a plan for presenting the ideas contained in the letter to the
Executive Committee of the Board. As we discussed in our last meeting, it is very important to have his -
full support. It may be even preferable for him to make the presentation, with you and I available to
answer questions. We can determine this when we meet with him or sooner.

1 estimate that it will require three visits to obtain approval of the SERP plan from the Executive
Committee, These include our first visit, meeting with the Chairman, and the presentation to the Executive
Committee. Based upon these meetings and the time required to prepare for them, I estimate that
consulting fees will be from $15,000 to $18,000, Report preparation and travel expenses are additional
and invoiced at cost. They generally run 10-15% of fees. When the Executive Committes approves our
recommendations, it may be desirable for me to coordinate with Valic or whoever handles the
implementation/actuarial part of the SERP plan. I can estimate the time required and fees for the
implementation portion of the study at that time.

I look forward to working with you on such an important project. I will call you after you have had an
opportunity to review this letter.

_ Warm personal regards,

TE2

Paul M. Flood, C.M.C., A.A.H.C.
Chairman
Chattahoochee Health Resources
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4775 Fowler Drive * Cumming, Georgia 30131 © 770/844-7574 » FAX 770/844-7556

 
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Chattahoochee Health Resources

March 19, 1998

 

Mr. Duncan Moore

President & CEO

Tallahassee Memorial Regional Medical Center
1300 Miccosukee Road

Tallahassee, FL, 32308-5093

Dear Duncan,

It was a pleasure to meet with you and visit TMRMC in February. You asked that I tepresent the Medical )
Center’s Board of Directors in evaluating your Employes Pension Plan and its impact on senior =

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Taanagentent deferréd Compensation. -
A. TMRMC EMPLOYEE RETIREMENT PROGRAM

As we discussed, you and the senior management participate in TMRMC’s regular employee retirement
program. . This program is designed to pay employees 1.5% per year (of the employees last three years
average salary up to $150,000) times the number of years employed at TMRMC. For example, if a nurse
or therapist averaged $50,000 their last three years of employment and worked for 15 years, their
retirement income would be: .
1.5% x 15 years x $50,000 + Social Security ($20,000 estimate) = $11,250 + $20,000 = $31,250 or
62.5% of salary.

If an upper middle manager worked 25 years and eamed $100,000 average the last three years, his/her
Tetirement would be: .
1.3% x 25 years x $100,000 + Social Security = $37,500 + $20,000 = $57,500 or
57.5% of direct compensation.

On the other hand, if you as CEO retired after 15 years (you would be approximately 62), your TMRMC
retirement program based upon your current compensation would be: .
1.5%x 15 years x $150,000 (plan maximum) + Social Security = $33,750 + $20,000 = $53,750 or
11.7% of direct compensation.

If you stayed until you are 65 years old (18 years), assuming current compensation level, your retirement
income would be $60,500 or
13.2% of direct compensation.

Another example would be your Chief Financial Officer, who eams approximately $235,000 per year.
Assume he retires with 25 years of service with TMRMC. His retirement income would be:

1.5% x 25 years x $150,000 + Social Security = $56,250 + $20,000 = $76,250 or
32.4% of direct compensation.

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As you can see, the TMRMC pension plan works quite well for the rank and file employees. However, _
once an executive or senior manager eams over $150,000 per year, retirement income as a percentage of
salary or direct compensation drops significantly.

Today the average employee retiring has worked at TMRMC 22 years and has eared approximately
$45,000 average over the last three years. He/she therefore retires with an average retirement. pay of
$34,850 per year or 77% of final annual salary. (1.5% x 22 years x $45,000 + $20,000 social secunty.}

Since the Tax Reform Act of 1986, both hospitals as well as public and private companies have faced the

dilemma of how to equalize their retirement proprams so that key executives maintain a similar standard of

living in retirement as they did while working, by receiving a percentage of their final annual salary that is
-comparable with the percentage of salary that regular employees receive.

As at TMRMC most employer sponsored retirement plans qualify for federal tax advantages. However,
these plans have strict limits on how much employees and employers can invest in pension and 401(K)
funds. While rank-and-file employees are generally unaffected by such limits, the TEFRA Act places a.
$150,000 limit on “highly paid” executives. - e

As indicated in the previous examples, the TMRMC funded pension plan will provide most employees with
a significant percentage of their salary after retirement, particularly when one adds social security benefits.
Retired executives, however, will receive a much lower percentage of their final salary because of the
federal caps on employer contributions and payouts.

Although I have not analyzed individual benefits of those whe have retired recently, it appears the objective
of the TMRMC pension plan is for employees to retire with a target between 60% and 70% of final pay. It
stands to reason that executives should have a similar or higher retirement target as rank-and-file
employees.

B. HOSPITALS RESPONSE TO TEFRA

Since the TEFRA caps were put in place, there has been a steady erosion in what hospitals and private
companies can provide for executives through a qualified employee pension plan. In response, many
hospitals and companies have fashioned “non qualified” executive plans outside traditional retirement plan
boundaries, which are subject to less Internal Revenue Service regulations and try to match or exceed the
salary to benefit ratio of other employees. Ir reality, this is giving back to executives something that they
already had before the federal caps.

72% of the respondents in a 1997 William M. Mercer survey reported that their commitment to a non
qualified executive retirement plan - one that doesn’t qualify for traditional tax advantages - was driven by
a tax code that discriminates against high salaried employees. Their wide spread popularity in healthcare,
as well as the private sector, is also a testament to the premium that most board of directors place on
assembling a cadre of quality executives. Marry board: members have made the comment, “Fo get a pood
management team and retain it,” is the real prize for an effective supplemental executive retirement
program (SERP).

Every year 1 do a survey in Georgia of hospitals and health systems that have in excess of 250 operating

beds in the main hospital. Of these twenty (20) hospitals, eighteen (18) have some form of a supplemental
executive retirement program. Thirteen (13) have defined benefit plans and five (5) had significant defined

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contribution plans. The defined benefit pians have the following targets as a percentage of final
compensation.

50% 35% 60% 65% 70% Total
2 2 2 3 3 13

Three (3) hospitals have defined contribution plans with targets ranging from $1.25 million to $2.5 million
at retirement. Three (3) others have various types of defined contribution plans. Of the two (2) hospitals
that have only employee pension plans, one is in the process of implementing a defined benefit it plan with a
target of 65% of direct compensation for the CEO.

Two recent surveys by KPMG Peat Marwick and Arthur Anderson indicated that 90% of the Fortune 1000
companies offer executives some degree of supplemental benefits: beyond the standard menu of retirement
options. Towers Perrin also conducted an informal survey of supplemental, non qualified retirement plans
and deferred compensation arrangements for 51 non-profit hospital and health systems. Their study
indicated the following:

1. Number of Executives Covered
One (CEO) 34%
Two to Five 22%
Six to Ten - . - 20%
More than Ten 24%
2, Plan Structure
Supplemental Defined Benefit or Target Benefit 78%
Supplemental Defined Contribution 10%
Deferred Compensation - 12%
3, Defined Benefit Target
Target
50% 1%
55% 11%
60% 52%
65% 15%
70% 15%
4, Target Retirement Age
Age
55 3%
60 27%
62 18%
65 49%
75 3%

The conclusion from the above is that most hospitals and health systems have supplemental defined benefit
plans with a target benefit from 55% te 70%. They usually ec cover up to five key executives and have a
retirement target from 60 to 65 years of age.

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Cc. SUPPLEMENTAL EXECUTIVE RETIREMENT PROGRAMS (SERP)

As previously discussed, the most widespread non qualified plans are benefit restoration plans, which make
up for government limits on qualified plan benefits to senior management. Some board members think of
 SERF plans for key executives as not-for-profit deferred compensation in lieu of stock options from for-
profit hospital and health system chains.

The primary reasons most hospital boards provide Supplemental Executive Retirement Programs (SERPs)
are to: , ,

e = Attract and retain high caliber senior management by rewarding management performance.
¢ Focus management’s attention on long term goals and performance.

« Provide SERP participants with a significant level of retirement income,

Employer sponsored programs are intended to provide deferred compensation for key and/or highly paid

employees. They are exempt from most of the requirements of the Employee Retirement Income Security
Act of 1974 (ERISA). Any private, not-for-profit employer may establish an unfunded or funded “non~—
qualified deferred compensation” (NQDC) arrangement for a select group of its management or its highly
compensated employees. The regulations for this type of. deferred compensation arrangement are outlined
under the IRS code section 457.

There are two types of deferred compensation plans under section 457. Under both types, contributions
remain the property of the employer until paid to the participant.

1, “Eligible” 457(b) plan

® $7,500 limit per year on contributions.

« Limit is reduced by contributions to tax sheltered annuities.

* Contributions may be vested without adverse tax consequences.

* Contributions and investment income are subject to the claims of the Medical Center’s
creditors.

¢ Many hospitals use the “eligible” 457 plan for the first $7,500 of the deferred bonus
plan by placing this portion of the benefit in a “Rabbi Trust”.

2. “Ineligible” 457(4) plan

e . No limit on contributions.

* No adverse tax consequences so long as deferred compensation is subject to a
“substantial risk of forfeiture” (not vested).

« Contributions and investment income are subject to the claims of creditors and toa
“change of heart” risk from the employer.

* A “substantial risk of forfeiture” exists if payment of benefits to the executives is
conditioned on the “future performance of substantial service”. (This is typically
greater than two years.)

e Once vested, then the participant is taxed immediately on the present value of accrued
benefits.

it should be noted that a 457(£) plan participant is required to mamtain service with the employer until a

stipulated date or length of service; otherwise, he forfeits what has been accumulated in the plan up to that .
time, should he terminate employment prior to that date. Hospitals often require a five to ten year length of

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‘service before the participant is vested. This provides a strong incentive for key employess to remain with
the hospital or health system.

Whenever the senior manager becomes vested, those contributions in the ineligible 457(£) plan come under
the control of the executive and are immediately taxable, as are future annual contributions by the Medical -
Center. The tax consequences to the executive then become:

1. Regular Employee Pension Plan portion becomes taxable at retirement if payment is lump sum;
or is taxable with annual or monthly pensions, if paid out over a number of years.

2. The $7,500 contribution to the 457(b) plan becomes taxable upon distribution to the executive.
This can be at vesting or at retirement. (One point to note is that contributions to the 457(b)
plan are not reported on the individual 990 forms until distributions are made. 457(f)
contributions are reported on the 990 forms at the time of contribution and distribution.)

_ 3. Contributions to the 457(f) plan become taxable to the executive at the time of vesting or
retirement, which ever comes first.

Hospitals and Health Systems that vest their key executives after a certain number of years often “Gross
Up” the income tax consequences for the individual executives at the time of vesting, as well as in the years
after vesting and before retirement. The reason for this is that ifa significant amount of money is being
placed in a deferred compensation program each year, it can be difficult for the executive to pay the taxes
due each year without withdrawing a significant portion of the dollars that have been deferred in order to
pay the taxes.

D. PROPOSED COURSE OF ACTION

Duncan, | would suggest that we have a meeting with the Chairman of the Board to review the overall
SERP program and determine:

. Feasibility of Initiating a SERP Program.

What Executives Should Participate.

Defined Benefit Targets.

Length of Time for Vesting.

Possibility of Income Tax Gross Up.

Company to Handle the SERP Program.

Responsibility of the TMRMC Board Executive Committee in Overseeing the Program. -

NAAR WN

Based upon a very brief review of TMRMC’s financial and marketing results, it is obvious that you and
your senior management are performing in the upper quartile of comparable Hospital and Health Systems
performance. A profit of $13.5 million in net revenues of $260 million is very good, particularly
considering that gross revenue is approximately $500 million. It is difficult to maintain profitability with
the amount cf unreimbursed income and bad debt that you have. When one considers the heavy HMO
market penetration in the area, profitability becomes even more difficult. With an 80% market share in an.
area with a Columbia/HCA Regional Office is almost unheard oft Ifa large not-for-profit medical center
such as TMRMC has over a 60% market share in an area competing with a Columbia/HCA hospital and a
Heaith South Rehab facility, the not-for-profit facility is doing extremely well.

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When we meet with your Board Chairman, | will recommend that we consider the following:

1. CEO have a SERP target of 50% of salary at 10 years and 65% at 15 years. He would be
vested at 10 years.

2. The two Executive Vice Presidents have a SERP target of 50% of salary and be vested at
15 years. .

3. The Senior Vice Presidents and Vice Presidents maintain the same formula of 1.5% per year
times number of years times last three years average salary (but without the $150,000
limitation).

I should also review your contract to determine how any proposed SERP changes should be incorporated
into the contract. I can also compare it to other similar CEO contracts that I have reviewed,

After the Board Chairman, you and J have reviewed this letter and developed a plan of action, we should
review our findings and recommendations with the Executive Committee of the Board. The Executive
Committee should draw the final conclusions and approve or disapprove the proposed Supplemental
Executive Retirement Program.

After you have had an opportunity to review this letter, I will give you a call.
Warm personal regards,
Paul M. Flood, C.M.C., AA HLC,

Chairman
Chattahoochee Health Resources

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Chattahoochee Health Resources

 

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John Lewis, Ph.D. WS FM ayy
Chairman

Board of Directors 4. Cukecume Exits Coaeer of fe.

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Tallahassee, FL 32308-5093 * Vasedtenn Site. POSSE Wres. Fitton

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As requested by-you, Iam enclosing information:from my brief review of your Employee Pension Plan ; °
and its impact on senior management deferred compensation, 5, Puweaut —~ te O95" Sater g

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A. TMH, Inc, EMPLOVEE RETIREMENT PROGRAM | ee ” ae

Your CEO and senior management team participate in TMH, Inc.’s regular employee retirement program.
This program is designed to pay employees 1.5% per year (of the employee’s last three years average
salary up to $150,000) times the number of years employed at TMH, Inc. For example, if apurse or
therapist averaged $30,000 their last three years of employment and-worked for 15 years, their retirement
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50% 55% 60% 65% 70% Total
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More than Ten : 24%
2. Plan Structure
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Supplemental Defined Contribution 10% a
Deferred-Compensation - - 12%
3, Defined Benefit Target
Target
50% 7%
55% 11%-
60% 52% 1 ese
65% 15% \
70% ist te otek
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35 3%
60 27%
62 18% =
65 49% =
75 3%

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¢ $7,500 limit per year on contributions.

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D. PROPOSED COURSE OF ACTION

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Company to Handle the SERP Program. !
Responsibility of the Tallahassee Memorial HealthCare, Inc. Board Executive Committee in
- Overseeing the Program. Awainn. y [plied tv Baplets - tle ,

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When we meet, I would recommend that we consider the following:

E@ CEO have a SERP target of 50% of salary at 10 years and 65% at 15 years. He would be

LEE vested at 10 years.

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Ne lt Ht eel Ce iS Executive Vice Presidents have a SERP target of 50% of salary and be vested at
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faye 3. The Senior Viee-Presidents-and Vice Presidents maintain the same formula of 1.5% per year
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I should also review the CEO contract to determine how any proposed SERP changes should be Sy
incorporated into the contract. I can also compare it to other similar CEO contracts that I have reviewed. “

After you have reviewed this letter and developed a plan of‘action, we should review our findings and
recommendations with the Executive Committee of the Board and/or the full Board, The Executive
Committee should draw the final conclusions and approve or disapprove the proposed Supplemental
Executive Retirement Program.

After you have had an opportunity to review this letter, E will look forward to hearing from you or Duncan

- Moore.

Warm personal regards,

F0 ZLO

Paul M. Flood, C.M.C., A.A.H.C.
Chairman
Chattahoochee Health Resources

cc: Mr. Duncan Moore, President & CEO

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Chattahoochee Health Resources
July 31, 1998 topaséo (Sow FEAL 7

Mr, Duncan Moore

CEO

Tallahassee Memorial HeaithCare, Inc.
1300 Miccosukee Road .
Tallahassee, FL 32308-5093

Dear Duncan,

After reading-your current Agreement, I have proposed-some of my initial thoughts for-updating and
adding a number of paragraphs to a revised or updated Agreement. We obviously need to add the final
approved additions for the Supplemental ‘Executive Retirement’Plan and any other compensation issues”
that should be included. This can be done in paragraph 4. Some of these proposed paragraphs may be too
detailed; or may stretch a point toa far. ,

After you have had an opportunity to review this, we should obviously discuss your thoughts.

Based upon our telephone conversation on Thursday, F will quickly fmalize the doilar requirements on the
SERP Program. I look forward to talking with you soon. :

Warm personal regards,

Paul M, Flood, C.M.C., A.A.FLC.
Chairman
Chattahoochee Health Resources

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EMPLOYMENT AGREEMENT COMMENTS
BETWEEN DUNCAN MOORE AND
TALLAHASSEE MEMORIAL REGIONAL MEDICAL CENTER

INTRODUCTION

Shoulda revised contract be between Tallahassee Memorial'HealthCare and Duncan Moore, rather than
Tallahassee Memorial Regional Medical Center? -

 

In an updated contract, there could be such language as follows:

e Whereas Moore has served as chief executive officer (CEO) of Tallahassee Memorial Regional
Medical ‘Center and now Tallahassee Memorial HeatthCare (slrould explain this transition as well
as indicate any other corporate entities that Moore is CEO of) and. -

« Whereas, the Board of Directors of Tallahassee Memorial HealthCare recognizes that Moore has
rendered valuable service as CEO from January 29, 1988 as its chief executive officer, enabling
employer to fulfil its charitable mission, become financially sound and provide healthcare
services to the community within its service area; in addition, employer is cognizant that the
present period of time is one oftremendous change for the healthcare industry and-employer
desires to ensure Moore’s continued employment as its CEO during this period and beyond;-and

« - Whereas the Board of Directors and Moore entered: into a contract of employment dated January
29, 1988 which was assumed by the employer on January 30, 1988; and 7

© Whereas, in order to better ensure continued valuable service by Moore inthe employ of.
employer, recognizing that Moore’s value to the employer and his productivity in his position
will be enhanced by providing additional financial security to him with respect to changes in the
nature of employer’s business or Moore’s possible retirement, termination without cause or
disability; and

« -- Whereas; employer and Moore believe that their retationship wil! be enhanced by integrating and
superceding the previous contract into and by this contract with the respect to the subject matter
hereof.

NOW; THEREFORE, ‘in consideration of the premises and of the agreements and-commitments made by
the parties to this contract, the parties agree as follows: -

1. EMPLOYMENT:
Employer hereby agrees to the continued-employment of Moore pursuant to the terms hereof and-Moore
hereby agrees to continue his employment with the employer upon the terms and conditions set forth in

this agreement.

2. TERMS:
This agreement shall-be for an indefinite-term unless terminated-as provided herein,

3. PURPOSE:

(Duncan, ‘you may or may not want to change the purpose as outhmed in the original agreement. - Your
duties as outlined are more “in line” with the responsibilities of a Medical Center CEO rather than a
corporate CEO who directs a healthcare-systern which includes & large Medical-Center: - You may want to
consider some of the thoughts and words that follow. If you want to make a change, we should probably
discuss-what you see as your key duties and responsibilities today and if any of them should be included
in the contract. Some initial thoughts on this follow.) :

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Moore shall: be emptoyed as the-chief executive officer; regardless of how titled, of Tallahassee Memorial
HealthCare, Inc., and such other corporations as are created and controlled from time to time by
employer. Moore shall devote substantralty all of tris entire time, attention, and energies to the affairs of
the employer and shall not during the terms of this contract be engaged in any substantial outside business
activity; butthis requirement shall not be construed as’ preventing: Moore from usual and ordinary’social
and recreational activities nor shall the same be construed as preventing Moore from investing and
managing his assets in such a manner‘as will not interfere withthe duties-and obligations ofa fulltime
chief executive officer of a Healthcare System and Medical Center. Without limiting the general terms of
the duties described hereinabove, itis further agreed that Moore shall carry out the normal duties of a
chief executive officer of a similar sized Regional Healthcare System and Medical Center with similar
organization (as in effect fromr time to time); that he shall-perfornrinra reasonable manner-att of the duties

required by the employer and that he shall also provide the services required of the chief executive officer
by the By-laws ofthe employer; its affthates amd their successors itr reorganization.

4, COMPENSATION:
(Based upon the final outcome of the Supplemental Executive Retirement Progranr proposal to the
Compensation Committee, we should either add to or rewrite this section.) a .

5, BENEFITS:
In attdition tothe compensation described-above, employer shoutd provide to Moore the following
benefits: .

1. General Employee Benefits. - Moore shall be included under all standard-employee
benefit programs now in effect or to become in effect during the term of this Contract,
including health anddife-insurance programs, retirement-programs, provisions for sick
leave and any and all other standard employee benefit programs. Moore and his family
shall be fully included-and insured as-beneficiaries or-covered-lives under Employer’s
current health insurance plan or program up to age 65 and until Moore and his spouse are

__ gligiblé to receive Medicare insurance benefits, regardless of whether this Contract is
terminated prior to such date; provided, however, in the event this Contract is terminated
voluntarily by Moore prior-to Moore or his spouse-reaching age 65, Moore and his
dependent family shall be entitled to continue participation in Employer's health insurance
plaror-program by y paying that portior ofthe cost of such health insurance plan or
propram attributable to Moore and his dependent family at the rate paid by other
employees. - As an-ithistration and not # limitation of the foregoing provisions of this
paragraph, in the event of a termination hereof, whereunder Moore is entitled to severance
benefits, before either he or his spouse are eligtbte for Medicare insurance benefits,
Employer will continue to pay the cost of such insurance plan or program attributable to
Moore and-his- family. Simiiarly, in the event of Moore’s retirement at a time-while either
he or his spouse are ineligible for Medicare, Employer will continue to pay the cost of
such program attributable to Moore amd ins farnilymtit each of Moore anchis spouse,
respectively, are eligible to receive Medicare insurance benefits. As long as this Contract
remains in effect, Employer shall pay the-cost.of abeve health and-life-insurance-for Magre
and his family coverage, as well as the cost of the other employee benefit programs
referred-to herein, provided that Moore will be required to pay such portion of the cost of
life insurance coverage that he elects to maintain under the group life insurance program
maintained-by Employer-and to pay the mandatory employee contributions underthe
retirement plan presently sponsored by Employer if there are any, in accordance with the
normal practice of the Employer for alrofficers of Tallahassee Memorial HealthCare.

Ly Additional Life Insurance. The Employer shall pa fms on the $1 million term life

insurance POlicy-On thette f Vi ida (Duncan, this\s where-we-
add additional insurancépolies to cover life, accident, and disability.

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10."

’ States and elsewhere and te attend to

service time and shalt not be-consi

General Liability Insurance. The Employer shall continue to insure Moore under its
general liability insurance policy for all acts done in good faith during the term of this
Agreement.

Retirement: Benefits.CWe will want to-expand on retirement benefits and possibly place
this under 4, Compensation.) _ -
Automobile. The Medicat Center shall purchase or lease for Moore every three"(3) years
a new automobile. Jn the event that the Intemal Revenue Service (IRS) changes its rules
conceming automobiles, then an adjustment shall be-made in Moore’s compensation for
such changes to offset additional expense to Moore. -
Disability Insurance Policy. (The current Contract imlicates that the Employer shall
purchase a standard disability policy which shall cover 60% of the base pay of Moore in
the event that Moore becomes-disabled. This appears to-be open ended. Is this until you |
die or does it go on until Mary Ann dies, if you die first? Should we try to incorporate
something that would contimue your current total compensation as described in paragraph
4, Compensation for a period of 6 months after becoming permanently disabled and then
having the insurance policy pick up at 60% of total compensation not just base pay. We
should also include, “This disability income is in addition to any other disability benefits
described herein or in any other benefit plan maintained by the Employer.”)

Death During Employment. If Moore dies during the term of his employment, in
addition to the benefits payable under-general employer benefits, additional life msurance,

. and acerued vacation payable under paragraph 4 hereof, the Employer shall pay to his

beneficiary the compensation that would otherwise be'payable to Moore fora 3 month
period immediately after his date of death. Additionally, Moore’s surviving spouse on her
behalf-and on behalf of Moore’s family members shall have the right until such time-as-she
is eligible to receive Medicare insurance benefits to continue to participate as covered-lives
and beneficiaries underthe Employers health msurance plan by paying therefore at the rate
paid by employees of the Employer. © :
Medical Examination: ‘Fhe Employershall provide one (1) annual medical examinations
per year for Moore. .
Dues. The Employer shatt pay dues to professional associations and sovieties-and to-such
service organizations and clubs of which Moore may become a member, as-apprevec-by
eChai he-Board-orthe ive-Comnutiee-of the Board oFb

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Expenses, (Duncan, after 10 years/l anrnot’s if you need this paragraph or blend+this
paragraph in with dues above, butin case you think it might be advisable to fio so, this is a
good proposed paragraph-on expenses.) Me re-will -be-permitted tobe absent from
Empioyer’s business during wotking days attend professional meetings in the United

outside professional ‘duties in the healthoare
field as have been mutuallyagreed upo between him and the Chairman of the Board or
the Executive-Committee-of the Board‘of Directors. - Attendance at-such approved
meetings and accomplishment of approved professional duties shall be fully compensated
ered vacation-time. “It is deemegt to be in the best
business interest of the Employer/that Moore’s spouse accompany him at such of said
approved meetings as may b ed in Moore’s discretion: Moore is authorized totneur
reasonable expenses for travel/for himself and his spouse and similar items. The Employer
shall reimbutse Moore forall expenses incurred by him and Hits spouse incident to
attendance at approved professional meetings and accomp}ishment of approved
sen duties and such entertainment expenses incyrred by Moore in furtherance of

  
  

the Employer’s interest,/provided, however, that such y¢imbursement is approved by the
Chairman of the Boa: ‘ded further that in sity case where Moore anticipates that
the thavel costs or inpidental expenses connected with any of the above-described activities

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may ed _-$5 008-08; then all sbtain the prier approval of the Chairma
Board.

6 Vpeation (Ligavé T let
(Dincan, your current’ Contract indicates that you are entitled eam time off (ETO) in accordance with
the Employer’s personnel policies for each year of employment. Often, vacation and sick leave are

broken out in Contracts similar to the two provisions indicated below.)

6a. Vacations: Moore shall be entitled to 5 weeks (or whatever the appropriate number
is) of vacation per-fiscal -year, during which his compensation shall be paid in full: Each
vacation shall be taken by Moore at the time he and the Chairman determine appropriate,
taking into accountthe requirements ofthe Employer. At the election of Moore
(exercisable by letter to the Chairman not more frequently than once per fiscal year) up
to, but not more than, three(3) weeks of said-five (5) weeks of vacation (that is fifteen

@ (15) working days per fiscal year) which have been accrued under the Employers “Paid —
Days Off-Policy” provisions as the same may be in effect and as published from time to
time, shall be applied by the Employer and paid as additional payments toward the dollar
match retirement option for however we might say this — particularly if itis included in
the Contract in any particular paragraph) in lieu of Moore’s taking the corresponding
time off Provided further, any umused-balance in Moore’s paid days offaccount-may be
accumulated or accrued by Moore without limit until termination of this Contract,
whether voluntarily or involuntarily by either party, in which event Moore or his
beneficiary (in the event of Moore’s death) shall receive an amount of money equal to
Moore’s annual salary prorated against the accummulated-and unused balance. Moore or
his beneficiary may elect a lump sum payment or equal monthly payments over a period
of twenty-four (24) months of the sum due him for unused paid days off account balance.

6b. Sick Leave: In the event of absence as the result of illness or injury (arising from
any cause and without regard to whether or notTesuiting in permanent disability) on
Moore’s part, the Employer will continue Moore’s compensation and expenses for a

f period of six (6) months at which time the Employer will pay Moore one-half (1/2) the
compensation for an additional six (6) months or until such time that permanent disability
payments are initiated-pursuant to the disability provisions of the defitred benefit
requirement plan maintained by Employer. Any salary continuation required of the
Employer during the pendency of said retirement plan disability berrefits shail be in
addition to the amount of any disability income paid Moore pursuant to the insurance
polictes described-in-above paragraph 4.

7, TERMINATION: | :
(Duncan; I would advise strengthening the termination clause tr your current Contract as-follows :‘)

TA. Termination Without Cause By Employer: The Employer may in its discretion
terminate Moore without cause. ‘Such action shall require a majority vote of the entire
Board of Directors of the Employer and become effective when such vote is taken.’ After
such termination, altrights, duties, and obligations of both parties shail cease, except as
otherwise especially provided herein, and except that Employer shall pay to Moore any
compensation due Moore as‘of the effective date of termination and Employer ay
to Moore during the “severance compensation period” (as defined below) from and after
the effective date of terminatiom those amounts described in the compensation sections
(paragraph 4) of this Contract which amount shall be collectively referred to herein'as
“severance compensation”, together-with those amounts required to be-patd to Moore

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‘pursuant to the deferred. compensation section 4 of this Contract. * ‘Fhe severance
compensation provided under this parapraph 7A shall not be paicin the event Moare’s
termination of employment is for cause as provided under paragraph 10A hereof.

* Note-to Duncan: This meats we need'to spell out that all of your total ‘compensation
will be included in a severance package.

In the event the termination cecurs between the effective date hereof through and
including September 30, 2003, the severance compensation shall be paid for a tetm of
four (4) years. In the event the termination occurs between October 1,2003 and
September 30, 2004, the severance compensation shall be paid for a term of three (3)
years. In the event the termination occurs between-October 1, 2004 and-September 30,
2005, the severance compensation shall be paid for a term of two (2) years. In the event
the termination occurs between October 1, 2005through and including September 30,
2006, the severance compensation shall be paid for a term of one (1) year. The obligation
of Employer-to pay severance pay shall terminate-at the end of severance period
described above or on September 30, 2006 whichever occurs first. Whenever a reference
in this Contract is made to the “severance compensation period” the sameshatl refer to
the time frame set forth in this paragraph.

The severance compensation will be paid-or the first (1") date of each month, beginning
with the first month following notice of termination and continuing thereafter during the
severance compensation period. ‘ Durmg the severance compensation period, Moore-shall
not be required to perform any duties for the Employer (except as provided in paragraph
7 point d below)}-er come-to Employer's business-or the business of any of-its affiliates.
Neither shall the fact that he seeks, accepts, and undertakes other employment during this
period affect Employer's obligation to make the severance compensation payments.
Also, the Employer agrees to keep Moore’s group life, health and major medical
insurance coverage paid-up and in -effeet-during the severance compensation petiod.
During the severance compensation period Moore shalt also be credited with service for
purposes of-catculating length of service under-the Employer’s defined benefit pension
plan. The consideration running to the Employer from Moore for the payments
contemplated under this paragraph 7A-and following paragraph 8, the-receipt,-value, and
sufficiency of which are hereby acknowledged, includes, but is not necessarily limited to:
a.. The performance of-services by Moore forthe Employer for an utinterrupted period
dating from January 29, 1988.

b.: “Fhe desire of the Employer to retain ‘Moore in its employ as a strong-and effective
chief executive officer, acknowledging his effectiveness may require his making
decisions, which, although in the best interest of the Employer in light of information
and expertise personal to Moore, may be unpopular with the public, including
physicians on the- Medical Staff and-members of the Board of Directors ofthe
Employer.

c. The severance compensation provisions ofthis Contract are expressively ‘determined
to be an effective and appropriate method to fulfil the competing desires of the
Employer to: -(i) employ Moore atthe pleasure of the Employer’s Beard-of s,
and (ii) to retam a dynamic, strong, and effective decision maker in light of the needs
and challenges facing'a modem, publicly controtled hospitat and health-system.

d. During the severance compensation period provided for in paragraph 7A and 8
hereof, Moore shall be available-to-render consulting or Board services te-the
Employer, provided such consulting or Board duties shall not interfere with Moore’s

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performance of full time employment elsewhere; wherever located, and that he is
advanced all of his reasonable expenses, including, but not necessarily limited to,
travel; meals, anc: lodging, relating tosuch-consulting or Board duties.

8. CONSTRUCTIVE TERMINATION:
During the term of this Contract ifthe following should occur, (i) the Employer nr its discretion changes
either the nature of Employer’s business or Moore’s duties so that it can reasonably be found that Moore
is no longerperforming the duties ofthe chief executive officer of Tallahassee Memortal HealthCare,
Inc., or (ii) constructive termination (as defined below) of this Contract by Employer, than Moore shall
havethe right in his complete discretion, to termmate-performance of alt duties, obligations and
responsibilities required of Moore under this Contract by delivering to the Chairman of the Board of
Tallahassee Memorial HealthCare writternotice, stating therem its effective date, ofthe termination of
Moore’s obligations, duties and responsibilities under this Contract by reason of Employer’s constructive
‘termination. - Aftersuch notice, atk rights; duties and obligations of both Moore and Emptoyer shalt cease,
except as otherwise expressly provided herein, and except that the Employer shall pay to Moore any *
compensation due him as of the effectrve date ofthis notice and- Employer shalt also pay to Moore during
the severance compensation period from and after the effective date of Moore’s notice of constructive
terminatiow the severance compensation as fully describectin paragraph 7A of this Contract; together-with
those amounts due Moore pursuant to paragraph 4 om compensation m this Contract: * During this ~
period; Moore shall not be requiredto perform any duties forthe Employer; except -as provided in
paragraph 7.A.d. above or come to Employer’s business. Neither shall the fact that he seeks, accepts or
undertakes other employment -durmg this term affect such payment- Also, during the severance
compensation period, the Employer agrees to keep Moore’s group life, health and major medical
insurance coverage paid up and in effet. The severance-compensation period shall also beincluded as
full time employment and Moore shall be credited with service therefore for purposes of calculating
length of service under the Emptoyer’s defined benefit pension pian.

* Duncan, as indicated earlier, we must spell out all of your direct and deferred compensation in ~’
paragraph 4-and include alt of tt in your-severance package. .

As used herein, a “constructive termination” shall mean and include:
(Gy: A “Change of Contro?” (as defined below) in orby Employer; or
(ii) Any “Change in Duties (as defined below) of Moore; or °
(ii): Anraction whether-ratifred or confirmed by the Board of Directors of the Employer,
whereby the operations of Tallahassee Memorial HealthCare, Inc. are changed to the
point that some other entity or providerts the primary operating entity of the acute pare
general hospital (Tallahassee Memorial Regional Medical Center) rather than the -

Employer or any ois Abita.

For purposes hereof, a “Change of Control” shall be deemed to have occurred if

(i) Asthe result of-or'im connection with, orincident to any tender offeror exchange; ofiter,
merger, joint venture, Jease or other business combination (whether or not the Employer
converts from a non-profit to a for-profit corporation), sale of assets, ‘contested election,
legal or judicial decision, or any combination of the foregoing events, the persons who
were Trustees ofthe Employer before such events stall cease to represent voting control
ofthe Board of Directors of the Employer or any successor to the Employer;

(ii) Emptoyertransfers substantially all of its-assets to another corporatiom or other busimess
entity which is not a wholly-owned or wholly-controlled subsidiary of Employer.

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“Change in Duties” of Moore shall mean any one or more of the following:

G)
(i)
ii) -

(iv)

(vy)

(vi)
(vii)

A significant: change in the nature or scope of Moore’s authorities or duties from those
applicable to him immediately prior to the date on which a Change of Control occurs:
A reduction in Moore’s Compensation from that provided to him immediately prior to the
date on which'a Change of Control occurs: -
Any diminution im Moore’s eligibility to participate or level of participation, incentive
award, and other Compensation plans which provide opportunities to receive
Compensation, from the greater of;
(a) The opportunities provided by the Employer (including any of the
Affiliates) for an executive with comparable duties; or 4
{b) The opportunities under any such plans under which he was participating
immediately prior to the date on which a Change of Control occurs. -
A diminution: in Employee benefits ineluding; but not limited to, medical; dental, life
insurance and long-term disability plans) and perquisites applicable to Moore, from the
greater of:
“(ay Employee benefits and perquisites provided by the Employer Gncluding
the Affiliates} to executives with comparable duties; or :
(b} Employee benefits and perquisites to which he was entitted immediately
prior to the.date on which a Change of Control occurs.
A change in the location of Moore’s principal place of‘employment-by the Emplayer
(including any of the Affiliates) by more than ten (10) miles from the location where he
was principally employed immediately prior to the date on which a Change of Control
occurs to which Moore has not agreed: ; ’
Any reduction in Moore’s title with Employer:
That Moore, because of any change in circumstances of Employer, is adversely affected
with respect to his ability to exercise the authorities, powers, functions, or duties attached

J

to his position immediately prior to the date on which a Change of Control occurs. ~

9,- TERMINATION WITHOUT CAUSE BY MOORE:

Moore may terminate this Contract at any time upon six (6) months written notice to the Board of
Directors by registered-mail: In such event, Moore if requested by the Employer, shall contime to render
his services, and shall be paid his regular Compensation up to the date of termination. -

10. TERMINATION FOR CAUSE:

A.

This Contract may-be terminated -by the Employer without notice and with immedjate
effect for cause in the event of Moore’s conviction of a felony. Further, Moore’s duties
may be’suspended without a cessation ofhis-full-Compensation or benefits-durmrg the
pendency, following indictment, of any felony charge brought against Moore in a court of
competent jurisdiction. In addition, cause‘may be defined as the willful neglect * of his
duties of-employment at TaHahassee Memorial HealthCare, habitual absence, and/or
gross and flagrant inattention to duties. ** The Board shall notify Moore mm writing of
termination for cause by registered mail andtermination shall be effective as-of the date
of the receipt by Moore. .
The termination of Moore’s employment for cause under this Paragraph 10 shall not
affect his right to be paid out his deferred compensation in accordance with paragraph 4
hereof.

* (Duncan, is there anyway to eliminate the “willful neglect” or “flagrant inattention to -

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duties” phrases that are included here because they are in your original contract? These
can be used as “political loopholes”!) ’

11, COMPETITION:

Upon termination of this Agreement for any reason for a-peried of one-C1) year following the effective
date of this termination, Moore shall not be employed by or work in any capacity for any health care
facility i the Tallahassee area without first obtamingthe writterrauthorization of the Chairmatrof the
Board of Directors of Tallahassee Memorial HealthCare. The Tallahassee area is hereby defined as Leon,
Jefferson, ‘Taylor and Gadsden Counties; Florida; and ‘Thomas-Ceunty, Georgia: In the event-of-a breach
of this restrictive covenant, TMHC shall be entitled to injunctive relief, it being agreed by the parties that
there wouktbe no adequate remedy at law available to Fallahassee Memorial HealthCare.

12. REVIEW OF PERFORMANCE ANNUALLY:
(Duncan, this one-seems okay to me and is currently written as follows.)

The Board of Directors shall annually do a performance review which shall include a comprehensive
assessment of achievements on thejob; measured by the standards-criterta and guidelines developed by —
the Board of Directors. This review process shall include the setting of new goals, standards, and -
objectives for the-future.

13. NOTICES: -

Anynotive required or permitted to be giver under this Agreement shatl be sufficient if in writing and
mailed by certified mail, retum receipt requested, to the resident’s address then on file with the Employer
in the-case-of Meere and to the Chairmarr of the Board; care of Tallahassee Memorial HealthCare, Inc.,
1300 Miccosukee Road, Tallahassee, Florida, in the case of Employer.

14, ENFIRE AGREEMENT:

This Contract constitutes the entire Agreement betweer the parties and contains all the Apreements
between them with respect to the subject matter hereof. It also supercedes and restates any and all ether
Agreements or Contracts either oral or-writtert between the patties with respect tethe subject matter
hereof: (Lanrnot sure about the word“orat” in this one-asT havenot seen any documentation on the
$100,000 match retirement option that you have.) “

15, AMMENDMENTS TO AGREEMENT:
The terms and conditions of this Agreement may be amended at any time by written agreement of the
parties signed by the Chairman of the Board and Moore.

16. INVALIDITY:

The invalidity or unenforceability of any particular provision ofthis Agreement shall not affect other
provisions and this Agreement shall be construed in all respects as if such invalid or unenforceable
provision had been omitted.

17, BINDING AFFECT:

This Contract shall-be-binding upen-and inure to the benefit of the Employer, its successors and assigns,
and shal! be binding-upon Moore, his administrators, executors, legatees, heirs, and assigns.

18, ASSKGNMENT: -
Neither party shal! assign this Agreement without the writterr consent of the other-party.

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19, LITIGATION COST:
In the event that any dispute hereunder‘is resolved through litigation, and Moore’s-position in such
litigation is sustained by any extent by the court, then Employer agrees that it shall pay all of Moore’s

attomeys’ fees, court costs, and-other out of pocket expentses-incurred in connection -with the litigatiqn or
arbitration.

20. ARBETRATION:

Arbitration is not required of Moore to resolve any dispute with Employer hereunder, but is merely an

_ altemative available to Moore to resolve any dispute if Moore elects to use it. Employer shall have no
right to avail itself of arbitration unless Moore agrees ‘to arbitration. All arbitration’s pursuant to the
contract shall be determined in accordance with the rules of the American Arbitration Association then in
effect, by a single arbitrator ifthe partes shall agree-upon one, or by three arbitrators; one appomted by
each party, and a third arbitrator appointed by the two arbitrators selected by the parties, all arbitrators
fromra panel proposed by the American-Arbitration Association. ‘If any party shall fail te appoint an
arbitrator within thirty (30) days after it is notified to do so, then the arbitration shall be accomplished by
a single arbitrator. ‘Unless otherwise-agreed to by the parties Irereto; alt arbitration proceedings shall be
held in Tallahassee, Florida. Each party agrees to comply with any award rendered in such proceedings.
The decision ofthe-arbitrator(s) shall betendered-within stxty (60) days after finat submisstorofithe
parties in writing or any hearing before the arbitrators and shall include their individual votes. If Moore is
entitted to amy award pursuant to the determination reached inthe arbitration proceeding; he shall be
entitled to payment by Employer of all attorneys’ fees, costs and other out-of-pocket expenses incurred in
connection with the arbitration. .

21. ASSUMPTION BY SUCCESSOR:

The Employer agrees that it will not merge, consolidate orcombine with any other business entity un}ess
and until the succeeding or continuing corporation, authority or business entity shall expressly assum
and: confimrin wiiting the obligations of the Employer created for Moore underthis Contract: The rights
accruing to Moore or any designee under the provisions of this Contract shall be solely those of any
unsecured creditor of the Employer.

22. APPLICABLE LAW:
This Contract shall be construed and enforcer under and accordance with the laws of the state of Flonida.

IN WITNESS WHEREOF, the Employer has caused this Contract to be executed by its duly authorized

Chairmatr, attested-by like authority and Moore has hereunto sethishand and seal this --__ day of ;
1998. -

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Chattahoochee Health Resources FOE

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June 12, 1998

Mr. Duncan Moore

President & CEO

Tallahassee Memorial Healthcare Inc.
1300 Miccosukee Road —
Tallahassee, FL 32308-5093

Dear Duncan,

10 years, but I am not sure which one.)

Please review and make whatever suggestions and/or additions that you think would be help ful. Upon
finalizing the letter, please indicate which of the four options that you prefer:

* Don’t use the letter at all and continue to focus only on the Supplemental Executive Retirement
Program.

° Don’t give it to Dr. Lewis and the Executive Committee, but just keep it in your “hip pocket’ for
reference if direct compensation comes up, .

* Use the letter with your suggested improvements, and hand carry it to the mesting with copies for
each of the Executive Committes.

* Use it with the suggested improvements and FedEx it to Dr. Lewis before the meeting.

Tintend to fax a copy of this letter to you by early Friday morning and hopefully can get your comments

and suggestions by late Friday morning in case we need to mail or FedEx to Dr. Lewis. I will give you a
call Friday moming.

Warm personal regards,

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Paul cme AAFC.

  

Chairman
Chattahoochee Health Resources
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Chattahoochee Health Resources

 

‘ PROPOSED
PERSONAL AND CONFIDENTIAL

June 12, 1998

Mr. John Lewis, Ph.D,

Chairman

Board of Directors

Tallahassee Memorial Healthcare Inc.
1300 Miccosukee Road

Tallahassee, FL 32308-5093

Dear Dr. Lewis,

fhe. ee
Often when I meet withExecutive-Committees-or Compensation Committeegiof the Board Teparding
Supplemental Executive Retirement Proprams (SERP), one of their first questions is how does our CEO’s

Attachment I depicts CEOs of healthcare corporations with greater than $200 million in revenues. Please
note that the total direct compensation at the mean is $459,702; and at the 13 percentile, it is $543,407.
This compares with Duncan Moore’s actual total direct compensation of ,000. This places him at

‘about the 68" percentile in the MSA study. It is also noteworthy that the average CEO at the mean has
been president of his corporation for approximately 7 years, CEOs at the 75% percentile have been in
their position about 11 years, -

Revenue responsibility ranges from approximately $536 million to $591 million for the mean and 75%
percentile CEOs. The gross revenue in the Tallahassee Memorial Healthcare Corporation is altg Hy rs

appromasately $500 million.
Actes OF

This analysis indicates that Duncan Moore’s CEO compensation is withia-e-comparablosaage swith
Similar presidonterand CEOs, betweetrtie-moat-and=15umepeentile, a total direct compensation

approximates the 56" percentile. I hope this analysis is informative, ]

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4775 Fowler Drive « Cumming, Georgia 30131 « 770/844-7574 » FAX 770/844-7556 90094
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T look forward to meeting with you and the Executive Committee on Wednesday, June 17" at the Medical
Center.

Warm regards,

   

EPLYWFZQ
Paul M- Flood, C.MLC* KAHC.

Chairman

Chattahoochee Health Resources
be: Mr. Duncan Moore, President & CEO
Tallahassee Memorial Healthcare Inc.

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PERSONAL & CONFIDENTIAL

ATTACHMENT |

CEO HEALTHCARE CORPORATIONS > $200 MILLION IN REVENUE

 

 

75TH DUNCAN MOORE
MEAN PERCENTILE MAXIMUM ACTUAL
Current Base Salary $ 369,639 $ 403,178 $ 575,874 BE? Boe
Incentive Bonus , 90,063 140,229 185,203 ~} =
; ‘Se @, Ghee

Total Direct Compensation $ 459,702 $ 543,407 $ 761,077 = $ 486;000—(4)
DeGecced} Sea wite Ce Verkeh. 1GQas. L
Percent Increase Last 12 Months 10.70% 15,05% 30.70%
Years Service in Position 6.9 11.0 14,0
Revenue Responsibility (Millions) $- §36.3  $ 591.6 $ 2,265.0 $ 500.0

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Chattahoochee Health Resources

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September 4, 1998 ‘Lot Cbwy(s_ _. Li Meee hf odbinta’
[Pe]

John R. Lewis. Ph D « dsp.«Upes eles Srther Func
0 s, Ph.D.
The Chesley House 4 PEP AEC per
Tallahassee FE ase beer 508 8 Yeger fayrry

, ° Cher a Cneytceteprn cst - lgry 42s HBn
Dear Dr. Lewis, ° MPa piey,: IAN boyy

a4 SACK yace SO Figgireed Pilwteg
At the last meeting of the Compensation Committee of the Tallahassee Memorial HealthCare Board of

Directors, approved the following proposed course of action for developing a Supplemental
Executive Retirement Program (SERP) for the CEO and his Senior Vice Presidents:

* The CEO will have a SERP target of 50% of compensation at 10 years and 65% at 15 years. He

would be fully vested in the retirement program at 10 years, although payments would not be
available to him until he reached the age of 65, ~~

© = The four Senior Vice Presidents will have a SERP target of 50% of compensation and be vested
at 10 years, although payments would not be available until age 65 if someone retired early.

* You also indicated that the remaining Vice Presidents would stay in the Tegular employee pension
plan with no changes.

A. BACKGROUND

You asked that [ develop a recommendation on how to fund the approved SERP plan, including any
options to “gross up” the benefits, as well as a general outline of the wording to contractually obligate
TMHC to the SERP program.

B, ANALYSIS OF SERP DOLLAR REQUIREMENTS

This analysis assumes, that each executive will work until he is 65 years old in order to maximize
retirement income, Ihave also used 1998 doliars so the Compensation Committee can compare the
dollars needed to fund the SERP pro with c ollars in the existing employee pension plan and

how all of this relates to current annual salary levels.

Current base compensation and age of the senior executives are:

Base
Compensation Age
Duncan Moore $400,248 , 37
Bill Giudice $251,000 4 39
Ron Bradford $160,000 V 46
Ed Camey, M.D. $204,000 55
Jack McDonald, M.D. $204,000 65

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4775 Fowler Drive « Cumming, Georgia 30131 * 770/844-7574 « FAX 770/844-7556

 
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The current employee retirement plan pays 1% of the average annual earnings up to $10,000 and 1,6% of
compensation over $10,000 with a cap at $150,000; times the number of years of service at TMHC. The
average of tie highest 3 of the last 5 years of compensation are used in the calculations. Since all of the 5

executives eam more than $150,000 annually, each are ca sither $2,340 or $2,400 per year
(depending ifthey are on the new or old plan) times the number of service years. In addition to the
employee pension pian, each executive would be eligible to draw approximately $22,000 per year in
social security, if married at 65. —~ ”

Based upon current earings the SERP “short fall” needed to make up the annual difference between
Duncan retiring at 65% of compensation and the Senior Vice Presidents at 50% is:

 

Estimated
Current Employee
SERP Pension Plan
- Retirement + Soc, Sec. SERP
Executive Target at 65 At Retirement — Short Fall
Duncan Moore $260,160 _ $ 66,460 $193,700 o
Bill Giudice $125,500 $115,600 $ 9900 va
Ron Bradford $ 80,000 $113,200 —
Ed Camey, M.D. $102,000 $ 57,100 $ 44,900
Jack McDonald, M.D. $102,000 | $ 33,700 $ 68,300

If each of the executives retired at the end of the fiscal year in which they became 65, the cash flow
requirements from TMHC to fund the SERP shor fall based upon 1998 dollars would be:

 

 

 

SERP
Annual
Fiscal Year Short Fall Reason for Change -

97-98 — ,

98-99 $ 68,300 / Dr. Jack McDonald Retires

06-07 $266,000 Vv Duncan Moore Retires

08-09 $306,900 Dr. Ed Camey Retires

24-25 $316,800 Bill Giudice Retires
You should note that with inflation and compensation increases due to performance, the short fall will
increase, but relative to today’s dollars, these numbers are reasonably accurate, :

el ee — :
a

C. . FUNDING OPTIONS

TMHC could develop a 457(f) retirement pian and deposit annual contributions to ensure that there is
ity.in the SERP plan to begin makine the SERP payments at the time each executive retired.

 

  

© accomplish this actuarially, we would estimate average

      
  
      
  

    
 
  

 

DERE pian of approximately $970,000, if Dr McDonald wa daaincuded mine plan. (Remember
1s an mmcentive plan to retain key executives until they are 65, and Dr. McDonald will be 65 this year.)

 

A Jess expensive second option would be ta develop a specific contract with those key executives who
would be included in the SERP plan to pay them a SERP “short fail” that would provide the CEO with a

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target of 65% of the average of his last five years of compensation and the other Senior Vice Presidents
( 30% of'theirs. These short falls are described above in Section 5. The advantages to this option are:
* It avoids the necessity of Investing into an eq ity fund to have sufficient capital paying dividends
or interest to cover the SERP short fall at retirement.

This option avoids the tax gross up requirements.
* There is no exposure on the 990 forms that must be filed each year.

* This is a far more simple option.
eae? The executives would become eligible for vesting after ten years of service. Full vesting would occur
when one of the following events occurred: ~—

» Either retirement at age 65 or early retirement after age 60.
¢ Involuntary termination without cause. & a
pephever * © Death (with a 50% benefit tothe wife for her lifetime, provided she has been married to the
executive since he became eligible for vesting and does not remarry after his death).

Payments would be made to each executive for his lifetime. Ifthe executive died before his wife, 50%
payments would be made to her for her lifetime rovided she remained his wi without remarryine. If

in @ © executive died before his wife reached the age of 60, payments would not be made until she reached
' the age of 60. [fan executive becomes disabled before vesting, the SERP plan would not apply.

 

D. RECOMMENDATION
I' strongly recommend that the Compensation Committee approve the following resolution:

( F Tettahassee Memorial HealthCare, Inc, has approved a Supplemental Executive Retirement Program
(SERP) that has a target of 50% of compensation at 10 years of service and a target of 65% of
mpensation at 15 years of service for its CEO. He will be eligible to become fully vested at 10 years.
it TMHE also has approved a SERP with a target of 50% of compensation for its Senior Vica Presidents
with eligibility for vesting at 10 years, Payments will not be made available until the recipient reaches
age 65,

The SERP calculation for retirement Purposes will be comprised of:

+ Retirement amount from regular employee pension plan

4 + Social Security proceeds
+ SERP short fall

= SERP target percentage of the average of the last
> years of salary before retirement, if fully vested.

and continuing thereafter each month until death of the executive. His surviving widow will be paid 50%

 

 

 

 

 

of the target until her death, uniess she remarries. _
The SERP short fall will be paid out of TMHC operating funds from urrent year that the expenditures
age required, or from any accumulation of SERP funds that have been specifically targeted from ”
preceding years. This plan will become effective October 1, 1998. f —
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1) SELF Wt JE / ATTACHMENT A

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(> _—- TALLAHASSEE MEMORIAL HEALTHCARE, INC. pple?
j pS TET : CEO CONTRACT
COMMENTS
3) Gavelaleet
A. INCL AGREEMENT IN CONTRACT
el
B. OTHER POINTS COVERED IN MANY CEO CONTRACTS
° y . ].A Direct and deferred compensation as well as benefits are generally described in a little
ns a, more detail than in Duncan Moore’s current contract. ,
 e : 2A Paid Days Off (PDO’s) and sick leave policies are typically more specific.
wrt ee 3.A Termination without cause severance period is usually three to five years, Severance
oar PN bene: ould be clearer in the contract.
~ ~ 4. Many CEO’s have a “constructive termination” clause that covers that Hospital System’s
change of ownership or contract as well as. a significant change in the CEO’s duties. i eet
..* ~~ There is generally an arbitration paragraph on how to handle any potential disputes.
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